Case 1:16-cv-01055-STA-egb Document 39 Filed 07/19/16 Page 1 of 5                     PageID 188



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individually on behalf of himself and
others similarly situated,
                                                            No. 1:16-cv-01055
                 Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                            JURY DEMAND
                                                            FLSA COLLECTIVE ACTION
                 Defendants.


     PLAINTIFF’S SUR-SURREPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       CONDITIONAL CERTIFICATION


        COMES NOW, the Plaintiff, Cesar Gallardo, and for his Sur-Surreply, states as follows:

        I.           THE RULES OF HEARSAY DO NOT APPLY TO A MOTION FOR
                               CONDITIONAL CERTIFICATION.

        Defendant argues that hearsay evidence cannot be submitted in support of conditional

certification, but cites to only one case whose holding is the exact opposite of Defendant’s

proposition. Indeed, the Defendant cites to only White v. MPW Indus. Servs., 236 F.R.D. 363

(E.D. Tenn. 2006) to support its erroneous assertion that the rules of hearsay apply to affidavits

in support of a motion for conditional certification. However, White, like most other cases in the

Sixth Circuit held that the rules of hearsay do not apply to affidavits in support of conditional

certification:

                 There is certainly support for Defendant’s position that the
                 [hearsay] standard in Rule 56(e) applies not only to affidavits in
                 support of motions for summary judgment but also to affidavits in
Case 1:16-cv-01055-STA-egb Document 39 Filed 07/19/16 Page 2 of 5                       PageID 189



               support of a motion for conditional certification. The Court,
               however, respectfully disagrees . . . and concludes that the
               affidavits submitted in support of a motion for conditional
               certification pursuant to § 216(b) need not meet the standard set
               forth in Rule 56(e). To require more at this stage of litigation
               would defeat the purpose of the two-stage analysis.


White v. MPW Indus. Servs., 263 F.R.D. at 368 (internal citations omitted). See also Potts v.

Nashville Limo & Transp., LLC, No. 3:14-cv-1412, 2015 U.S. Dist. LEXIS 89825, at *17 (M.D.

Tenn. July 10, 2015) (holding that because of the limited factual record at the conditional

certification stage, the rules of hearsay need not apply); Rogers v. HCA Health Servs. of Tenn.,

No. 3:09-cv-1173, 2013 U.S. Dist. LEXIS 88693 (M.D. Tenn. June 25, 2013). Defendant relies

on case law which wholly refutes its own position. The declarations provided by Plaintiff are

properly considered at the motion for conditional judgment stage.

     II.    THE DECLARATIONS SUPPORT COLLECTIVE ACTION TREATMENT.

       Plaintiff submitted the declarations of Moises Magallanes, Jose Magallanes, and Martha

Valdivia not because they intend to join this lawsuit, but because they are witnesses who are able

to provide testimony supporting Plaintiff Gallardo’s claims of a uniform FLSA violation

appropriate for collective action treatment. Notably, Defendant is unable to produce any legal

support for its blanket assertion that declarations in support of conditional certification must only

come from similarly situated employees. There is no legal basis for Defendant’s position because

it is incorrect. The testimony of percipient witnesses provide relevant testimony which is

properly considered by the Court, regardless of whether or not they may be part of the collective

action. See Coleman v. Jenny Craig, Inc., No. 11cv1301-MMA (DHB), 2013 U.S. Dist. LEXIS

176294, at *3 n.2 (S.D. Cal. Nov. 27, 2013) (denying Defendant’s motion to strike declarations

of former employees who had no valid claim against Defendant, and holding that the



                                                 2
Case 1:16-cv-01055-STA-egb Document 39 Filed 07/19/16 Page 3 of 5                       PageID 190



declarations of witnesses who are not similarly situated still provide relevant testimony as to

whether conditional certification is appropriate).

       Likewise, the Court should properly consider the declarations of M. Magallanes, J.

Magallanes, and Valdivia because they provide supporting testimony that Defendant does indeed

participate in the FLSA violations alleged by Plaintiff. The declarations in combination with

Plaintiff’s declaration, the declaration of opt-in Plaintiff Aurelio Vazquez, and the Complaint

support moving forward with this matter collectively.

          III. DEFENDANT’S PURPORTED STANDARD FOR CONDITIONAL
            CERTIFICATION UTTERLY DISREGARDS CONTROLLING CASELAW.

       Defendant’s attempt to argue that Plaintiff’s well-pled Complaint along with the

declarations of the two Plaintiffs in support of collective action certification are insufficient to

satisfy the lenient standard at the notice stage is confounding. (See Defendant’s Surreply, Dkt.

No 36, p. 2). In support of its baseless argument, Defendant cites to a single Supreme Court

case, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), which does not even purport to

involve an FLSA collective action. Moreover, courts within the Sixth Circuit have expressly held

that Dukes, a Rule 23 class action, has no bearing on FLSA collective actions. Ware v. T-Mobile

USA, 828 F. Supp. 2d 948, 956 (M.D. Tenn. 2011) (finding that “Dukes does not affect [the

court’s] analysis of whether the plaintiffs are similarly situated to employees in the putative class

under the FLSA”). See also Creely v. HCR ManorCare, Inc., No. 3:09 CV 2879, 2011 U.S. Dist.

LEXIS 77170 (N.D. Ohio July 1, 2011) (the Rule 23 concerns set forth in Dukes do not arise in

an FLSA claim”).

       Rather, as fully set forth in Plaintiff’s original brief, O’Brien v. Ed. Donnelly Enterprises,

Inc., 575 F.3d 567 (6th Cir. 2009) is the Sixth Circuit’s controlling precedent in an FLSA

collective action. O’Brien held that collective action treatment is proper where “claims were

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Case 1:16-cv-01055-STA-egb Document 39 Filed 07/19/16 Page 4 of 5                                     PageID 191



unified by common theories of defendants’ statutory violations, even if the proof of these

theories are inevitably individualized and distinct.” Id. At 585.

         And in reality, as this Court well knows, courts within the Sixth Circuit often grant

conditional certification based upon the declaration of even only one employee 1. See Ivy v.

AmeriGas Propane, L.P., No. 13-1095, 2014 U.S. Dist. LEXIS 98577, at *9 (W.D. Tenn. July

21, 2014) (“Defendants’ assertion that a motion for conditional certification cannot be supported

by only a plaintiff’s complaint and declaration is without merit”); Gomez v. Ermc Prop. Mgmt.

Co., LLC, No. 3:13-cv-01081, 2014 U.S. Dist. LEXIS 52715 (N.D. Ohio Apr. 16, 2014)

(granting conditional certification based on declaration of only one plaintiff); Rogers v. HCA

Health Servs. of Tenn., No. 3:09-cv-1173, 2013 U.S. Dist. LEXIS 88693, at *3 (M.D. Tenn. June

25, 2013) (granting conditional certification with only one declaration because “[Plaintiff] has

made some factual showing that fellow non-exempt employees exist and were subject to the

same workplace policies and practices that he alleges violated the law. At this conditional

certification stage, that is enough to render them similarly situated”); Smith v. Waverly Health

Care & Rehab. Ctr., Inc., No. 3:12-cv-944, 2013 U.S. Dist. LEXIS 30729 (M.D. Tenn. Mar. 5,

2013) (weighing the “’broad remedial goal of the statute’ against the minimal burdens posed by

conditional certification,” the court conditionally certified the case based upon the declaration of

only one Plaintiff).

         In the instant case, Plaintiff has not only submitted his declaration, but also the

declaration of Aurelio Vazquez, who worked at Defendant’s locations in Dyersburg (El Patio),

Jackson (Los Portales South), and Henderson, Tennessee (Los Portales Henderson). Plaintiff’s




1
 Plaintiff previously provided supporting case law from courts across the country which support Plaintiff’s position.
Plaintiff will not re-brief those cases here. (See Plaintiff’s Reply, Dkt. No. 30, pp. 4-5).

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Case 1:16-cv-01055-STA-egb Document 39 Filed 07/19/16 Page 5 of 5                      PageID 192



well-plead Complaint and these declarations exceed the showing necessary at this stage for

conditional certification.

                                       IV.     CONCLUSION

       Based on the foregoing, Plaintiff respectfully requests that his Motion for Conditional

Certification be granted as to all restaurants owned and/or operated by Defendants.

                                                     Respectfully submitted,


                                                     GILBERT RUSSELL McWHERTER
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                                CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that a true and exact copy of the foregoing has been
mailed electronically via the Court’s electronic filing system, to all counsel of record on this the
19th day of July, 2016:



                                                     s/Michael L. Russell


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